    Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 1 of 13



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

 NORMA CARDOZA ESTREMERA and
 CANDIDA PEREZ ROBLES, on their behalf
 and on behalf of all the participants of the
 Pension Plan for the Employees of the Catholic
 School of the Archdiocese of San Juan                 Case Civil No. 16-02318

                     Plaintiffs
                                                       COMPLAINT:
                                                       ERISA § 502
 v.
                                                       Treas. Reg. § 1.401(a)-50
  COLEGIO PADRE BERRIOS, ACADEMIA                      Tittle II of ERISA
  SAN JOSE, PENSION PLAN FOR                           IRC 501(a), 414(e), 410(d)
  CATHOLIC SCHOOL OF THE                               US Common law
  ARCHDIOCESE OF SAN JUAN, BOARD OF                    PRIRC 2011
  TRUSTEES FOR THE PENSION PLAN FOR
  THE CATHOLIC SCHOOL OF THE
  ARCHDIOCESE OF SAN JUAN, MARILYN
  PANELL as Plan administrator, ANA CORTES
  CRESPO as Plan Administrator,
  ROMANCATHOLIC CHURCH/
  ARCHDIOCESE OF SAN JUAN,
                Defendants


               PLAINTIFF’S STATEMENT OF UNCONTESTED FACTS
       TO THE HONORABLE COURT

       COMES NOW, Plaintiffs through its undersigned attorney and pursuant to

Local Rule 56 (b) respectfully submits the following uncontested material facts in support of

Plaintiff’s Motion for Partial Summary Judgment. These uncontested facts are material facts

that are not genuinely at controversy which are properly supported by the record, which

consists of a declarations of Plaintiffs relevant documentation.




                                                 1
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 2 of 13



                  STATEMENT OF UNCONTESTED FACTS

1. On or about 1979, the Archdiocese of San Juan created the Plan; see Declaration of Mrs.

   Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

2. The Plan was created, but not established by the Archdiocese; see Declaration of Norma

   Cardoza, Exhibit 8.

3. The Plan was originally established as a defined benefit plan, within the meaning of

   ERISA § 3(35), 29 USC § 1002 (35). Complaint ¶ 134; see Declaration of Mrs. Candy,

   Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

4. As indicated in the Plan rules document, the Plan must be administered “consistent

   with the intend and requirements of the applicable provisions of ERISA.”; see Plan

   Rules document, Docket 17-4.

5. The Plan is an employee benefit plan within the meaning of ERISA; see Plan Rules

   document, Docket 17-4.

6. The Plan was established by a group of schools, not by the Church or an Association of

   churches. Complaint ¶ 107; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of

   Norma Cardoza, Exhibit 8.

7. The Plan was offered through several schools for the benefit of their employees; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

8. The Plan is co-sponsored by several schools in Puerto Rico; see Declaration of Mrs.

   Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

9. The Plan was offered to Plaintiffs by their respective employers, Academia San Jose

   (“ASJ”), and Colegio Padre Berrios (“CPB”); see Declaration of Mrs. Candy, Exhibit

   7 and Declaration of Norma Cardoza, Exhibit 8.


                                           2
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 3 of 13



10. The intention at plan inception was to provide benefit with the protection afforded by

   ERISA and the Puerto Rico Income Tax Act of 1954 (“ITA”); see A. Purpose at Terms

   and Conditions, art. 2 of Plan rule document at page 5 (Docket 17-4). See also

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

11. The purpose of the Plan was to have retirement pensions with the ERISA benefit

   protections; see plan rules, Docket 17-4.

12. The Plan SPDs contained notices to employees informing that pension benefits offered

   by the Plan was protected by ERISA; see page 5 of SPD dated September 1, 1979, Exhibit

   1, and page 6 of SPD dated September 1, 1993, Exhibit 2. See also Declaration of Mrs.

   Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

13. It was not until this year, after the Plan termination was announced, that Defendants

   informed participants that the Plan is a church plan, not covered by ERISA; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

14. The Plan is subject to the qualification requirements under Section 165 (a) under the ITA;

   see Plan trust, Docket 17-6 at page 13.

15. The Plan was adopted by several private schools in San Juan, including defendants CPB

   and ASJ. Complaint ¶ 116; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of

   Norma Cardoza, Exhibit 8.

16. Plaintiffs Norma Cardoza and Candida Perez Robles accrued pension benefit under the

   Plan; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza,

   Exhibit 8.

17. Mrs. Cardoza was scheduled to commence benefit, but due to such termination her

   benefits were curtailed; see Declaration of Mrs.Cardoza, Exhibit 8.



                                               3
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 4 of 13



18. Plaintiff Perez Robles was employed with CPB; see Certificacion de salarios; see

   Exhibit 3. See also, Statement of Pension Benefits, Exhibit 4. See Informative Return of

   2015, Exhibit 5. See also Declaration of Mrs. Candy, Exhibit 7.

19. Mrs. Perez was receiving pension benefit from the Plan until June 2016; see Declaration

   of Mrs. Candy, Exhibit 7.

20. As part of the plan termination, the Plan administrator is reducing vested pension benefits

   accrued by Plaintiffs Cardoza and Perez; see Declaration of Mrs. Candy, Exhibit 7 and

   Declaration of Norma Cardoza, Exhibit 8.

21. As of this date, Plaintiffs have not been provided by the Plan administrator with financial,

   qualified and exempt status of the Plan; see Declaration of Mrs. Candy, Exhibit 7 and

   Declaration of Norma Cardoza, Exhibit 8.

22. Section 414(e) of the Internal Revenue Code, 26 USC § 414(e) does not exempt the Plan

   from the qualification requirements imposed by ERISA.

23. SP is an office of the Archidiosece, without legal identity apart from the Archdiocese;

   see Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.

24. SP was no duly authorized to execute the plan trust by the Archdiocese of the Catholic

   church; see Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.

25. SP did not have settlor capability when the trust was executed.

26. The Archdiocese did not properly granted SP settlor capabilities to set up a plan on

   behalf of the Catholic church; see Plan trust, Docket 17-6 and Pastoral Letter on

   Catholic Education in Puerto Rico, Docket 17-2.




                                              4
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 5 of 13



27. The SP is a one-person commission or office of the Archidiosece, not a legal entity apart

   from the Archdiocese; see Pastoral Letter on Catholic Education in Puerto Rico, Docket

   17-2.

28. Brother Quellette was the person appearing as the Superintendent but he was not properly

   designated nor granted with authority to establish the Plan on behalf of the Diocesan; the

   Archdiocese of San Juan; see Plan trust, Docket 17-6 and Pastoral Letter on Catholic

   Education in Puerto Rico, Docket 17-2.

29. SP has not legal existence apart from the Archidiosece; see Pastoral Letter on Catholic

   Education in Puerto Rico, Docket 17-2.

30. SP is not an entity with legal capacity separate from the Archidiosece with properly

   delegated authority to appear and execute the Plan trust; see Pastoral Letter on Catholic

   Education in Puerto Rico, Docket 17-2.

31. SP mission consists of:

              Ensuring Catholic religious education in all Catholic institutions

              Promoting an atmosphere animated by a spirit of liberty and charity based on the Gospel.
              Promoting, assisting and encouraging unity among all Catholic schools in the diocese and
               Puerto Rico, through the Inter-Diocesan Superintendence for Catholic Education (ISCE).
              Setting diocesan rules and guidelines on the general organization of Catholic schools.
              Disseminating Church documents on Education and ensuring that they are known and applied
               in each school.
              Ensuring the integration of educational pastoral into the overall diocesan pastoral and Puerto
               Rico, especially with regard to youth pastoral and catechesis.
              Developing a spirit of family, unity, justice and simplicity among all components of the school,
               and with sister schools of the diocese and throughout Puerto Rico.
              Being a spokesman for achievements, hopes, projects, rights and duties of Catholic schools
               before national and international government agencies.
              Recommending concrete ways of living in each school, the option for the poor and community
               service.
              Ensuring that religion teachers have the proper training and the required certification.
                   See Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.


32. SP does not have its own EIN.



                                                  5
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 6 of 13



33. SP is an office of the Archidiosece, without legal identity apart from the Archdiocese; see

   Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.

34. The assignments appointed to SP by the Diocesan do not include the establishment and

   maintenance of a qualified plan on behalf the Archdiocese; see Docket 17-2.

35. SP was not authorized to represent the Archdiocese in the execution of the Plan deed of

   Trust; see Plan trust, Docket 17-6 and Pastoral Letter on Catholic Education in Puerto

   Rico, Docket 17-2.

36. SP is not the Archdiocese. It is an office of the Archidiosece, but not the Archdiocese; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

37. It does not have capacity to sue and be sued; see Declaration of Mrs. Candy, Exhibit 7

   and Declaration of Norma Cardoza, Exhibit 8.

38. SP was not included in this complain as a separate defendant because it is part of the

   Archidiosece. It is not an entity apart from the Archidiosece. It does not have legal

   existence by its own; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma

   Cardoza, Exhibit 8.

39. There is no document to sustain that SP is an entity apart from the Archdiocese; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

40. The Diocesan did not assign, design or clearly delegated such authority to SP or Brother

   Quellette to establish a qualified church plan on behalf of the Diocesan, the Archdiocese

   or the USCCB (here and after referred as the “Church”); see Plan trust, Docket 17-6 and

   Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2. See also Declaration

   of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.




                                             6
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 7 of 13



41. SP appearance in the execution of the trust for the Plan was without the delegation and

   authority necessary to execute the trust on behalf of the Archdiocese; see Plan trust,

   Docket 17-6 and Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.

42. The Archdiocese did not appear in the execution of the Trust; see Plan trust, Docket 17-

   6.

43. The Diocesan, the Archdiocese of San Juan or the United States Conference of Catholic

   Bishops (“USCCB”) were parties in the trust agreement; see Plan trust, Docket 17-6.

44. There is no purpose stated to that effect in the Plan trust agreement; see Plan trust, Docket

   17-6.

45. The trust document does not contain a statement indicating that the purpose of the trust

   was to establish a qualified plan by the Archdiocese; see Plan trust, Docket 17-6.

46. SP, which was the Settlor of the Plan, has no legal existence.

47. Such legal capacity is a required for a settlor to act as the Named Fiduciary of the Plan;

   see Plan trust, Docket 17-6.

48. SP was not properly designated by the Archdiocese to be the Named Fiduciary of the Plan;

   see Plan trust, Docket 17-6.

49. In this case, SP did not have the authority nor legal capacity to execute the plan on behalf

   of the Archdiocese of the Catholic church; see Pastoral Letter on Catholic Education in

   Puerto Rico, Docket 17-2.

50. SP was not properly delegated by the Archdiocese to set up a plan on behalf of the Catholic

   church; see Pastoral Letter on Catholic Education in Puerto Rico, Docket 17-2.




                                              7
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 8 of 13



51. Although SP was designated as the Named Fiduciary of the Plan, it had not legal existence

   apart from the Archidiosece; see Pastoral Letter on Catholic Education in Puerto Rico,

   Docket 17-2.

52. SP is not an entity duly authorized with delegated capacity to appear and execute the Plan

   trust; see Plan trust, Docket 17-6.See also Pastoral Letter on Catholic Education in Puerto

   Rico, Docket 17-2.

53. SP has no authority assigned nor has been properly designated to represent the

   Archdiocese in the execution of the Trust agreement; see Pastoral Letter on Catholic

   Education in Puerto Rico, Docket 17-2.

54. It is an office of the Archidiosece that no not have individual legal existence; see Pastoral

   Letter on Catholic Education in Puerto Rico, Docket 17-2.

55. There is no document to sustain the delegation and authorization of SP to establish a

   qualified plan; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma

   Cardoza, Exhibit 8.

56. Brother Quellette, the person acting as SP, neither had authority delegated to establish a

   church plan on behalf of the Diocesan; the Archdiocese of San Juan; see Plan trust, Docket

   17-6.

57. The Diocesan did not assign, design or clearly delegated such authority to SP or Brother

   Quellette to establish a qualified church plan on behalf of the Diocesan, the Archdiocese

   or the USCCB (here and after referred as the “Church”) see Pastoral Letter on Catholic

   Education in Puerto Rico, Docket 17-2.




                                              8
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 9 of 13



58. SP appearance in the execution of the trust for the Plan was without the delegation and

   authority necessary to execute the trust on behalf of the Archdiocese; see Pastoral Letter

   on Catholic Education in Puerto Rico, Docket 17-2.

59. The Archdiocese did not appear in the execution of the Trust; see Declaration of Mrs.

   Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

60. No ERISA 1022(i)(2) election was made to have federal exemption extended to the Plan;

   see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

61. The Plan administrator did not elect to have exemptions under Tittle II of ERISA extended

   to the Plan; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza,

   Exhibit 8.

62. The Puerto Rico Internal Revenue Code of 2011 (“2011PRIRC”) does not provide

   qualified plans in Puerto Rico with an exemption for ERISA church plans, similar to IRC

   § 414 (e).

63. There is no a church plan exemption similar to § 414(e) provided under Puerto Rico tax

   statutes.

64. ERISA Section 1022(i)(2)(A) provides that if “the administrator of a pension, profit

   sharing or stock bonus plan which is created or organized in Puerto Rico elects … any

   trust forming part of such plan shall be treated as a trust created or organized in the United

   States for purposes of Section 401(a).”

65. The Plan Administrator did not make the election under ERISA §1022(i)(2) to have the

   trust treated as created in the U.S. Complaint ¶ 198; see Declaration of Mrs. Candy,

   Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.




                                             9
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 10 of 13



66. As indicated by Defendants at page 5 of their Motion to Strike (Docket 26-1), ERISA

   Section 1022(i)(2) provides that Puerto Rican pension plans that irrevocably make an

   election to be tax- qualified under Section 401(a) of the U.S. Code, will be treated as a

   trust created or organized in the United States for purposes of Section 401(a) of the US

   Code.

67. Plaintiffs have never been notified that the 1022(i)(2) election was made for the Plan; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

68. Defendants have not established the Plan qualified status under ITA, as of the proposed

   date of termination; see Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma

   Cardoza, Exhibit 8.

69. The Plan administrator has neither sustained the Plan qualified status as of the proposed

   termination date nor has elected under 1022(i)(2); see Declaration of Mrs. Candy, Exhibit

   7 and Declaration of Norma Cardoza, Exhibit 8.

70. Not all employers participating in the Plan (“Participant Employers”) are exempt

   organizations under § 501 of Tittle 26; see Declaration of Mrs. Candy, Exhibit 7 and

   Declaration of Norma Cardoza, Exhibit 8.

71. Defendant Colegio Padre Berrios is not a subordinate within the Group Ruling (Docket

   17-3). See also Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza,

   Exhibit 8.

72. Colegio Padre Berrios was not included in the 2016 Catholic Church Directory (Docket

   17-3). See also Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza,

   Exhibit 8.




                                            10
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 11 of 13



73. It neither has its own EIN, as required in the last paragraph of the IRS letter of May 27,

   2016, (Docket 17-1). See also Declaration of Mrs. Candy, Exhibit 7 and Declaration of

   Norma Cardoza, Exhibit 8.

74. CPB is not an organization exempt under § 501 of Tittle 26; see Docket 17-3. See also

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

75. The Superintendent does not have an EIN, which is required to each subordinate; see

   Exhibits 1 and 2; See also Declaration of Mrs. Cardoza, Exhibit 8.

76. No EIN was indicated for the Superintendent in the SPD’s; see Exhibits 1 and 2. See also

   Declaration of Mrs. Cardoza, Exhibit 8.

77. There is no EIN for the Superintendent; see Exhibits 1 and 2.

78. Defendant Academia San Jose does not have an individual EIN as required to subordinate

   entities forming part of the Group exemption; see Declaration of Mrs. Candy, Exhibit 7

   and Declaration of Norma Cardoza, Exhibit 8.

79. IRS does not verify the inclusion of subordinate organization under the group exemption;

   see IRS Publication 4573, Group Exemption.

80. Each subordinate organization covered in a group exemption should have its own EIN; see

   Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8. .

81. Each subordinate organization must use its own EIN, not the EIN of the central

   organization, in all filings with the IRS; see Docket 17-1 at page 2. See also Declaration

   of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

82. Each of them SP, CPB ASJ have to sustain their 501 exemption, individually or as

   subordinate of the group exemption (Docket 17-1). See also Declaration of Mrs. Candy,

   Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.



                                            11
   Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 12 of 13



   83. ASJ, SP and CPB must comply with the form 990 filing and reporting requirements

       established for group exemptions; see Rev. Proc. 80-27, 1980-1 C.B. 677, Rev. Proc. 75-

       50, 1975-2 C.B. 834 and Rev. Rul. 71-447, 1971-2 C.B. 230. See also Declaration of Mrs.

       Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

   84. Subordinates must file form 990 to the IRS with its own EIN as a condition to claim the

       church plan exemption under ERISA; See Memo from the Office of the General Counsel,

       United States Conference of Catholic Bishops (“USCCB”), June 1,2016, regarding

       Subordinate Organizations under USCCB Group Ruling (GEN:0928);see Exhibit 6. See

       also Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit

       8.

   85. As Settlor of the Plan, SP has not sustained it 501 exemption as a separate employer from

       the Church.

   86. The Plan administrator did not request IRS a determination from the agency that the Plan

       is a church plan for purposes of the IRC and the intention as the Plan inception was to

       provide pension under the Plan with the benefit protection afforded by ERISA; See also

       Declaration of Mrs. Candy, Exhibit 7 and Declaration of Norma Cardoza, Exhibit 8.

       RESPECTFULLY SUBMITTED.

        HEREBY CERTIFY that on this same date we electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all parties by
operation of the Court’s electronic filing system: Pedro A. Busó García at pbuso@salawpr.com,
Jaime L. Sanabria Montañez at jsanabria@salawpr.com, Frank Zorrilla Maldonado at
zorrilla@fzmlaw.com, Jesús R. Rabell Méndez at jesusrabell@gmail.com, Yolanda V. Toyos
Olascoaga at ytoyos@ramostoyoslaw.com and José O. Ramos González at rgtolaw@gmail.com.

       In San Juan, Puerto Rico, this 9th day of January, 2017.




                                               12
Case 3:16-cv-02077-GAG-BJM Document 170-1 Filed 12/20/17 Page 13 of 13



                                       s/Luis Vivaldi Oliver
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                                  13
